                     Case 1:25-cv-01935-JMF               Document 21        Filed 03/11/25        Page 1 of 1
AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                                for the
                                                Southern District
                                                  __________      of New
                                                               District ofYork
                                                                          __________


                        Mahmoud Khalil                             )
                             Plaintiff                             )
                                v.                                 )      Case No. 25-cv-1935
                     William P. Joyce, et al.                      )
                            Defendant                              )

                                                      APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

         Plaintiff                                                                                                            .


Date:          03/11/2025                                                                 /s/ Brett Max Kaufman
                                                                                            Attorney’s signature


                                                                                       Brett Max Kaufman (BK2827)
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